            Case 2:14-cr-00165-RAJ        Document 266     Filed 05/13/16    Page 1 of 1




 1                                                            JUDGE RICHARD A. JONES
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 6
                             UNITED STATES DISTRICT COURT
 7
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE

 9
     UNITED STATES OF AMERICA,                     ) No. CR14-165-RAJ
10                                                 )
                    Plaintiff,                     )
11                                                 ) ORDER TO SEAL SUPPLEMENTAL
               v.                                  ) DEFENSE SENTENCING EXHIBIT
12                                                 )
     KEVIN C. KOGAN,                               )
13                                                 )
                    Defendant.                     )
14                                                 )
15          THIS MATTER has come before the undersigned on the motion of Defendant

16   Kevin C. Kogan to file his Supplemental Exhibit to his Sentencing Memorandum under

17   seal. The Court has considered the motion and records in this case and finds there are

18   compelling reasons to file the document under seal.

19          Therefore, IT IS ORDERED that Defendant Kevin C. Kogan’s Motion to Seal

20   (Dkt. #260) is GRANTED and his Supplemental Exhibit to his Sentencing

21   Memorandum filed under Dkt. #261 shall remain under seal.

22          DATED this 13th day of May, 2016.

23
24
                                                      A
                                                      The Honorable Richard A. Jones
25                                                    United States District Judge
26

                                                                FEDERAL PUBLIC DEFENDER
      ORDER TO SEAL SUPPLEMENTAL DEFENSE                           1601 Fifth Avenue, Suite 700
      SENTENCING EXHIBIT                                             Seattle, Washington 98101
      (U.S. v. Kevin C. Kogan; CR14-165-RAJ) - 1                                (206) 553-1100
